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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

RAYMOND A. COLLINS,

                                Petitioner,                   04-CV-1472
                                                              (95-CR-232)
                 v.


UNITED STATES OF AMERICA.

                        Respondent.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                        DECISION & ORDER

I. INTRODUCTION

          Raymond A. Collins (hereinafter “Petitioner”) has filed the instant motion pursuant to 28

U.S.C. § 2255 challenging his criminal conviction for arson and conspiracy to commit arson, and

his life sentence. For the reasons that follow, the motion is denied and his petition dismissed.

Further, Petitioner’s motions for appointment of counsel and to proceed in forma pauperis are

denied.

II. BACKGROUND

          Petitioner was indicted, prosecuted, and convicted for crimes committed on behalf of an

organization of drug dealers that operated in the Binghamton, New York area. See United States v.

Joyner, 201 F.3d 61, 66-68 (2d Cir. 2000)(“Joyner I”). In this regard, Petitioner was indicted (95-



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CR-232) for arson in violation of 18 U.S.C. § 844(i), and conspiracy to commit arson in violation of

18 U.S.C. § 371. During the trial held from April 2, 1996 to June 4, 1996, the facts established that

the head of the organization, Archie Joyner, directed several of his underlings to recruit people who

would be willing to burn down a nightclub in which members of a rival organization sold drugs.

Petitioner and another defendant, Melvin Dove, agreed to commit the arson for $500.00 each.

Petitioner and Dove traveled to Binghamton in May of 1994 and, two times, went to the location to

plan the arson. On May 16, 1994, Petitioner and Dove doused the exterior of the bar with gasoline

and set it afire. The building was completely engulfed in flames within minutes, and totally

destroyed. An elderly man who lived in an apartment above the bar, Willard Allen, died in the

flames.

          On June 4, 1996, the jury returned verdicts finding Petitioner guilty on both charges. He was

thereafter sentenced to life imprisonment. See Joyner I, 201 F.3d at 67. Collins appealed his

conviction to the United States Court of Appeals for the Second Circuit, rasing numerous grounds.

See id. at 78-81. The Second Circuit set aside the restitution order and remanded for further

consideration on this issue, but affirmed the conviction and sentence in all other respects. Id.

Petitioner’s subsequent argument that his sentence was in violation of the rule enunciated in

Apprendi v. New Jersey, 530 U.S. 466 (2000),1 was considered and rejected in a separate opinion by

the Second Circuit that also denied the defendants’ petition for reargument. See United States v.

Joyner, 313 F.3d 40, 45-46 (2d Cir. 2002)(“Joyner II”). Petitioner’s petition for a writ of certiorari to

the United States Supreme Court was denied on February 23, 2004. See Collins v. United States,


          1
           In Apprendi, the Supreme Court held that constitutional due-process and jury-trial guarantees require that
"[o]ther than the fact of a prior conviction, any fact that increases the penalty for a crime beyond the prescribed statutory
maximum must be submitted to a jury, and proved beyond a reasonable doubt." 530 U.S. at 490.

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540 U.S. 1201 (2004).

       On the instant § 2255 motion, Petitioner raises a number of grounds challenging his

conviction and sentence. These grounds, which will be discussed more fully below, can be grouped

into four categories: (1) arguments that were raised and rejected on direct review; (2) arguments that

were available but not raised on direct review; (3) ineffective assistance of counsel arguments not

advanced on direct review; and (4) an argument under United States v. Booker, --- U.S. ----, 125 S.

Ct. 738, 160 L. Ed.2d 621 (2005). The Court will address Petitioner’s arguments accordingly.

III. DISCUSSION

       A. Issues Raised on Direct Review

       It is well settled that a § 2255 petition cannot be used to "relitigate questions which were

raised and considered on direct appeal." United States v. Sanin, 252 F.3d 79, 83 (2d Cir.

2001)(quoting Cabrera v. United States, 972 F.2d 23, 25 (2d Cir. 1992)); see United States v. Perez,

129 F.3d 255, 260 (2d Cir. 1997) ("A § 2255 motion may not relitigate issues that were raised and

considered on direct appeal."). "Reconsideration is permitted only where there has been an

intervening change in the law and the new law would have exonerated a defendant had it been in

force before the conviction was affirmed on direct appeal." Chin v. United States, 622 F.2d 1090,

1092 (2d Cir. 1980). Furthermore, new intervening law must "break new ground" or bring with it a

"new obligation on the States or Federal Government." Sanin, 252 F.3d at 84 (quoting Teague v.

Lane, 489 U.S. 288, 300 (1989)). “If a petitioner raises an issue that was addressed on direct appeal,

the Court may find it procedurally barred in a subsequent Section 2255 motion.” Graff, 269 F.

Supp.2d at 78 (citing Sanin, 252 F.3d at 83).

       Petitioner raises several grounds for relief under the rule enunciated in Apprendi, or that


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directly challenge the Second Circuit’s application of the Apprendi rule to this case. See Pet.

Ground One;2 Ground Two;3 Ground Three;4 Ground Four;5 Ground Five;6 and Ground Ten.7

Inasmuch as: (1) the Second Circuit has addressed, and rejected, Petitioner’s challenge to his

sentence under Apprendi, see Joyner II, 313 F.3d at 45-46; (2) the rule enunciated in Apprendi has

not been changed or overruled since the Second Circuit ruled in this case; and, (3) this Court has no

authority to review, let alone overturn, a decision by a United States Court of Appeals, Petitioner’s

claims set forth in Grounds One, Two, Three,8 Four, Five,9 and Ten are procedurally barred.


         2
            In Ground One, Petitioner asserts: “The sentence imposed is in violation of the Sixth Amendment jury trial
right to ha ve a jury determine every element of an o ffense.”

         3
           In Ground T wo, P etitioner asserts: “T he Court of App eals panel which affirmed the sentence and d eclined to
correct the Apprendi error com mitted manifest injustice b y applying [the] w rong/incorrect stand ard o f review.”

         4
          In Ground T hree, Petitioner argues that his “actual innocence for the enhanced sentence in excess of the
statutory maximum for the offense of conviction requires the sentence to be vacated.” In support of this contention,
Petitioner asserts that he

         was never charged with the knowing and intentional death of Mr. Allen, that the death of Mr. Allen
         was not an element the jury was instructed on and therefore, never found me guilty of beyond a
         reasonable doubt establishes that I am actually and factually innocent of the offense for which my
         sentence was impo sed.

Pet. Aff., ¶ 39.

         5
           In Ground Four, Petitioner asserts: “The constitutional error of not charging petitioner with the offense of
know ing and intentionally causing a death by arson and having a jury determine beyond a reasonable doubt that death
was ca used know ingly and intentionally by arso n undermines the ac curac y of the sen tencing determinatio n.”

         6
             In Ground Five, Petitioner asserts: “The constitutional error of not charging petitioner with obstruction of
justice ... and requiring such elements to be found by the jury beyond a reasonable doubt undermine the sentence
determinatio n and violates petitioner’s constitutional rights.”

         7
          In Ground T en, Petitioner asserts that his sentence violates his Sixth Amendm ent rights because the Court
determined “the presence of aggravating factors” that increased his sentence. Petitioner raises this argument under Ring
v. Arizona,536 U.S. 584 (2002). However, Ring did not create a new substantive rule, but merely applied Apprendi to
determinatio ns of death penalty eligib ility. See Schriro v. Summ erlin, --- U.S. ----, 124 S.Ct. 2519 , 252 2-23 (2004).
Because this was a d eath penalty case, Ring is inapplicable and the Court considers the argument under Apprendi.

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           To the extent the argument raised in Ground Three differs from the Apprendi argument raised and rejected on
direct appeal, it is procedurally barred now because (1) the argument was available on direct appeal and Petitioner has
                                                                                                             (continued...)

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         In Grounds Seven and Nine, Petitioner argues that the building that he burned down had no

nexus with interstate commerce and, thus, was not covered by the statutes that he was convicted of

violating. The Second Circuit has already considered, and rejected, this argument. Joyner I, 201

F.3d at 78-79. Therefore, Petitioner’s claims premised upon the same argument (e.g. Grounds

Seven and Nine) are procedurally barred.

         For the same reason, the claim asserted in Ground Eight is also procedurally barred. In this

regard, the Second Circuit has considered, and rejected, Petitioner’s claim that he was denied

constitutionally effective assistance of counsel because counsel failed to object to the jury charge

that allowed the jury to consider the question of the whether the burned-down building had a nexus

with interstate commerce. See id. at 81.10

         B. Issues Available But Not Raised on Direct Review

         The Court next turns to those claims that are premised upon arguments that were available,

but not raised, on direct review.




         8
             (...continued)
demonstrated no cause for his failure to raise it; and, (2) Petitioner has failed to establish his actual innocence of the
crimes for which he was convicted . See Discussion, part III(B), infra.

         9
           To the extent the Apprendi argument raised in Ground Five differs from the Apprendi argument raised and
rejected on direct appeal, it is nevertheless procedurally barred now because (1) the argument was available on direct
app eal and Petitioner has dem onstrated no cause for his failure to raise it; and, (2) Petitioner has failed to establish his
actual innocence of the crimes for which he was convicted. See Discussion, part III(B), infra.

         10
              In this regard, the Circuit held:

         Collins also argues that he was denied his right to effective assistance of counsel because his trial
         counsel ... failed to object to the judge's charge on the interstate commerce element .... However, as
         to the ... interstate commerce issue[], we see no omission that could have affected the outcome of the
         trial. ... The second prong of Strickland, a showing of prejudice, has therefore not been met as to that
         issue. Strickland v. Washington, 466 U .S. 668, 695-96, 104 S.Ct. 2052, 80 L.Ed .2d 674 (19 84).

Joyner I, 201 F.3d at 81.

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       “It is well settled that a Section 2255 motion is not a substitute for direct appeal.” Graff v.

United States, 269 F. Supp.2d 76, 78 (E.D.N.Y. 2003)(citing United States v. Frady, 456 U.S. 152,

165 (1982); United States v. Munoz, 143 F.3d 632, 637 (2d Cir. 1998)). Accordingly, "Section

2255 claims not raised on direct review are procedurally barred unless they raise constitutional or

jurisdictional claims, or result in a 'complete miscarriage of justice.' " Johnson v. United States, 313

F.3d 815, 817 (2d Cir. 2002) (quoting Graziano v. United States, 83 F.3d 587, 590 (2d Cir. 1996)).

“Where a criminal defendant has procedurally forfeited his claim by failing to raise it on direct

review, the claim may be raised in a § 2255 motion only if the defendant can demonstrate either: (1)

cause for failing to raise the issue, and prejudice resulting therefrom; or (2) actual innocence.”

Rosario v. United States, 164 F.3d 729, 732 (2d Cir. 1998)(citing Douglas v. United States, 13 F.3d

43, 46 (2d Cir. 1993)); see Arroyo v. United States, 2002 WL 662892, at * 2 (S.D.N.Y. April 22,

2002)(same)(citing Amiel v. United States, 209 F.3d 195, 198 (2d Cir. 2000)). This rule does not

apply to claims of ineffective assistance of counsel. Massaro v. United States, 123 S. Ct. 1690, 1696

(2003)(A Section 2255 ineffective assistance of counsel claim is not barred even if not raised on

direct appeal).

       To demonstrate cause, a petitioner must be able to show that the factual basis for a claim

was not reasonably available, despite the exercise of reasonable diligence. United States v.

Helmsley, 985 F.2d 1202, 1205-08 (2d Cir. 1993). The "cause" must be "something external to the

petitioner, something that cannot fairly be attributed to him ...." Coleman v. Thompson, 501 U.S.

722, 753 (1991)(emphasis in original).

       In order to establish “actual innocence," a movant must “demonstrate that, in light of all the

evidence, it is more likely than not that no reasonable juror would have convicted him." Bousley v.


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United States, 523 U.S. 614, 623 (1998). Actual innocence means "factual innocence, not mere

legal insufficiency." Id. “The Supreme Court in Bousley also made clear that when a habeas

petitioner is required to meet the ‘actual innocence’ standard, he must satisfy a higher hurdle than

the ‘prejudice’ prong of the cause and prejudice standard.” De Jesus v. United States, 161 F.3d 99,

103 (2d Cir. 1998).

         Petitioner asserts in Ground Twelve that he was denied a fair trial because of a brief

communication between the Court and a juror during the deliberation process.11 Petitioner provides

no explanation as to why the claim was not raised on direct appeal, although the facts were known at

the time. Therefore, he fails to demonstrate sufficient cause to allow the claim to go forward. See

Hardy v. United States, 878 F.2d 94, 96 (2d Cir. 1989)(collateral attack on grounds of recusal not

allowed, absent exceptional circumstances, “if the opportunity to do so existed at a time when direct

review was available.”).12 Further, Petitioner fails to establish his actual innocence of the crimes he


         11
             The context of this situation arose from a morning encounter prior to the start of the day’s proceedings when
a very d istraught juror a sked to speak to the undersigned . See Transcript, pp.5891-93. Una ble to immediately locate the
court reporter, and given the distraught nature the juror appeared to be in, I asked why the juror was upset. She advised
that ano ther juror had yelled at her because she to ok a d ifferent side on an issue they had been d iscussing. I briefly
explained the jury system to her and her right to persist in her views, and told her if she felt physically threatened to tell
the foreman and that the Court and attorneys would address the situation at that juncture. I then related this information
to the attorneys while in Chambers and o n the record, and none of the attorneys asked for any further inquiry of the
juror, or any other action, at that time.

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            Petitioner has also made a motion for recusal on the grounds that the undersigned would be a potential
witness in any hearing on this claim. The motion for recusal is denied on two grounds. First, there is no need for a
hearing as the claim is procedurally barred.

          Second, there is no legal basis for recusal. Petitioner’s argument sounds of classic example of “judge
shop ping” and has no legal merit. See United States v. Persico, 1993 WL 385799, at *1 (S.D.N.Y. Sept. 29,
199 3)(Section 225 5 petitioner’s first arg ument for rec usal “is rejected as utter no nsense .”). In this reg ard, it is well
settled tha t "[i]n deciding whether to re cuse himself, the trial judge must ca refully weigh the policy of prom oting p ublic
confidence in the judiciary against the possibility that those questioning his impartiality might be seeking to avoid the
adverse consequences o f his presid ing over the case. Litigants are entitled to an unb iased judge; not to a judge of the ir
choosing." In re Drexel Burnham Lambert, Inc., 861 F.2d 130 7, 13 12 (2d C ir. 198 8)(citation omitted), cert. denied, 490
U.S. 110 2 (1989 ); see United States v. Lo vaglia, 954 F.2d 811 , 815 (2d Cir. 19 92); United States v. Terry, 802 F. Supp.
                                                                                                              (continued...)

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was convicted of committing. Accordingly, Petitioner’s claim of the denial of fair trial is

procedurally barred.

         C. Ineffective Assistance of Counsel

         Petitioner also raises an ineffective assistance of counsel argument that was not raised on

direct appeal. In this regard, Petitioner asserts that he was denied constitutionally effective

assistance of counsel when his trial counsel “failed to secure his Due Process and Jury Trial rights to

be present during critical stages of the proceedings and to confrontation in addition to having his

fate determined by a jury unaffected by outside influences.” Pet. Ground Eleven. Petitioner’s

argument is premised upon the proposition that his attorney should have “lodge[d] an[] objection”

to the Court’s brief discussion with the juror as more fully set forth in footnote 11, supra, or



         12
              (...continued)
109 4 (S.D .N.Y . 199 2). "A judge is as mu ch ob liged not to recuse himself when it is not called for as he is o bliged to
when it is." In re Drexel Burnham Lambert, Inc., 861 F.2d at 1312.

          Both 28 U.S.C. § 144 and 28 U.S.C. § 455(b)(1) require disqualification when a judge is shown to have a
perso nal bias or prejud ice aga inst a party or in favor of any adverse party. See Hoffenberg v. Hoffman & Pollok, 2002
W L 3144 4994, at *1 (S.D.N.Y . Oct. 31, 2002). "It is well-established that under [28 U.S.C. §§ 455 (b)(1) & 144 ],
which emp loy the same analysis in establishing whethe r personal bias or prejudice exists, [the court] 'loo ks to
extrajudicial con du ct as the basis for ma king such a determinatio n, not conduct which arises in a judicial con text.'"
Terry, 802 F. Supp . at 1097-98 (quoting Apple v. Jewish Hospital and Medical Center, 829 F.2d 3 26, 333 (2d Cir.
198 7)); see United States v. Grinnell Corp., 384 U.S. 563, 583 (1966)(under § 144, "the alleged bias and prejudice to be
disqualifying must stem from an extrajudicial source and result in an opinion on the merits on some basis other than
what the judge has lea rned from his particip ation in the case."); see also Litkey v. U.S., 510 U.S. 540, 548
(1994)(Be cause § 45 5(b)(1) encompa sses § 1 44, the two can be read together.).

          "T he sub stantive standard for recusa l [unde r §§ 144 & 455(b)(1 )] is whether a rea sonable person , knowing all
the facts, would conclude that the court's impartiality might reasonably be questioned." Terry, 802 F. Supp. at 1097-98
(quoting Apple v. Jewish Hospital and Medical Center, 829 F.2d at 333); see De Luca v. Long Island Lighting Co., 862
F.2d 427 , 429 (2d Cir. 19 88)(The stand ard under § 45 5(a) is "whether an objective, d isinterested ob server fully
informed of the facts underlying the grounds on which recusal was sought would entertain a significant doubt that justice
would be done in the case." )(interna l quotation an d citation omitted); S.E.C. v. Grossman, 887 F. Supp. 649, 658
(S.D .N.Y . 199 5), aff'd, 101 F.3d 1 09 (2d C ir. 1996)(same).

         Here, the Court finds that no such conditions exist to warrant recusal. The challenged bias neither arises from
“extra-judicial” cond uct, nor presents a situation from which a reasonable would conclude that the court's imp artiality
might reasonably be que stioned . Petitioner’s application for recusal is wholly witho ut merit.

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requested the juror be interrogated as to what occurred and what was told to her. See id.

       In order to state a cognizable Sixth Amendment claim for ineffective assistance of counsel,

Petitioner must prove: “(1) counsel’s conduct ‘fell below an objective standard of reasonableness,’

and (2) this incompetence caused prejudice to ...defendant.” United States v. Guevara, 277 F.3d 111,

127 (2d Cir. 2001)(quoting Strickland v. Washington, 466 U.S. 668, 687-88 (1984)). In analyzing

the first prong of Strickland, the Court “must indulge in a strong presumption that counsel’s conduct

falls within the wide range of reasonable professional assistance.” Strickland, 466 U.S. at 689.

Given this presumption, "the burden rests on the accused to demonstrate a constitutional violation."

United States v. Cronic, 466 U.S. 648, 658 (1984). The standard is one of objective reasonableness,

and “[t]he first prong of the Strickland test is not satisfied merely by showing that counsel employed

poor strategy or made a wrong decision. Instead, it must be shown that counsel ‘made errors so

serious that counsel was not functioning as the 'counsel' guaranteed ... by the Sixth Amendment.’"

Jackson v. Moscicki, 2000 WL 511642, at * 7 (S.D.N.Y. April 27, 2000)(quoting Strickland, 466

U.S. at 687); see Kimmelman v. Morrison, 477 U.S. 365, 381 (1985)(Petitioner bears the burden of

proving "that counsel's representation was unreasonable under prevailing professional norms and

that the challenged action was not sound strategy.")(citing Strickland, 466 U.S. at 688-89).

       To satisfy the second prong of Strickland, Petitioner “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Strickland, 466 U.S. at 694. “A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id. at 694.

       At the time the Court encountered Juror # 9 in the hallway, deliberations were on-going.

The Court related to the attorneys that Juror # 9 had held a certain view or position on something,


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but that she changed that position after she was yelled at by a male juror. Trans. pp. 5891-93. Juror

# 9 further told the Court that she was not going to change her position again, and the Court advised

her that she had the right to persist in her view. Id. Having related this to the attorneys, it was not

professionally unreasonable for none of the attorneys to request that Juror # 9 be interviewed, or that

any other action be taken. Id. Such an interview, if allowed, would not have involved any

discussion of the issue that she referred to, nor would it have allowed any indication of the

numerical division of the jurors on any issue or count. A reasonably competent attorney would have

drawn the conclusion that the jurors were split on the question of guilt of at least one defendant on

at least one count. After having been told by the Court that the juror was told she could persist in her

view and should advise Court if she felt threatened, a reasonably competent defense attorney would

have made the strategic choice not to request interrogation of the juror (as all defense counsel

decided) because such interrogation could have led to dismissal of a juror who might have been

holding out for acquittal.

       The strategic choice to do nothing was not brought into question because of jury note # 38.

Note # 38 asked what happens when a juror’s verdict is not freely given. As the Petitioner

acknowledges, the Court answered the question by advising that a juror’s verdict that is not freely

given “is not a verdict. Each juror’s verdict must be freely given.” Trans. p. 5917-18. A reasonably

competent defense attorney would have viewed this question, and this answer, as further indication

that the jury would be unable to return a unanimous verdict on at least one count. Given the ability

of the attorneys to poll the jurors after the jury returned its verdict, it was not below an objective

standard of reasonableness for each attorney to sit back and hope the dispute between the jurors

involved a count against their own client. Indeed, the benefit of hindsight reveals that the jurors


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were split on the question of guilt of two of Petitioner’s co-defendants (Barrett and Sweat) resulting

in the jury being unable to resolve the counts against them (thus resulting in a second trial for these

defendants).

       Petitioner’s cursory contention that trial counsel did not act in a professionally competent

manner does not overcome the "'strong presumption that counsel's conduct falls within the wide

range of reasonable professional assistance.'” Cox v. Donnelly, 387 F.3d 193, 198 (2d Cir.

2004)(quoting Strickland, 466 U.S. at 689). Petitioner has not surmounted the "presumption that

counsel's conduct 'might be considered sound trial strategy.'” Cox, 387 F.3d at 198 (quoting

Strickland, 466 U.S. at 689. Accordingly, Petitioner’s claim fails under the first prong of

Strickland. See Parnes v. United States, 1995 WL 758805, at *3 (S.D.N.Y. Dec. 21, 1995)("[V]ague

allegations do not permit the Court to conclude that the alleged errors of Petitioner's counsel fell

below 'prevailing professional norms'.... Accordingly, the Court rejects Petitioner's claim that he

received ineffective assistance of counsel."); Matura v. United States, 875 F. Supp. 235, 237-38

(S.D.N.Y. 1995)(mere conclusory allegations that counsel was ineffective fails "to establish that his

counsel's performance was deficient [and] .... fails to overcome the presumption [under Strickland]

that counsel acted reasonably...."). Further, having presided over the trial, the Court finds no merit

to Petitioner’s contention that his attorney acted in a professional deficient manner as it related to

the Court’s brief discussion with Juror # 9.

       Even assuming arguendo that Petitioner’s counsel acted in a constitutionally ineffective

manner with regard to this issue, the claim fails on the second prong of Strickland. Petitioner cannot

demonstrate that but for some other action by trial counsel, the result of the trial would have been

different. Strickland, 466 U.S. at 694; see Slevin v. United States, 1999 WL 549010, at *5


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(S.D.N.Y. 1999)(a habeas petitioner must show how counsel’s failures prejudiced the outcome of

the trial), aff’d, 234 F.3d 1263 (2d Cir. 2000). This is because the evidence of Petitioner’s guilt was

overwhelming. See United States v. Sapia, 2002 WL 620483, at *4 (S.D.N.Y. April 18, 2002)(In

deciding a Section 2255 petition without a hearing, “a district court may rely on its own familiarity

with the case and deny the 2255 motion where the motion lacks ‘meritorious allegations that can be

established by competent evidence.’" ). The government introduced evidence from Joyner that he

initially paid Petitioner $500 to burn down the building, and that after Petitioner completed the task

and learned that Mr. Allen had died in the blaze, Petitioner solicited another $500 for his efforts.

There is no basis, other than pure speculation, to conclude that results of the trial would have been

different for Petitioner had his counsel done something different with regard to the issues

surrounding Juror # 9. Accordingly, the claim fails on the second prong of Strickland. See

Strickland, 466 U.S. at 697 ("If it is easier to dispose of an ineffectiveness claim on the ground of

lack of sufficient prejudice, which we expect will often be so, that course should be followed.").

       D. United States v. Booker

       In Ground Six, Petitioner asserts that under the holding of Blakely v. Washington, --- U.S. --

--, 124 S. Ct. 2531 (2004), his sentence is illegal. By logical extension, the Court interprets the pro

se petition to also assert that his sentence is illegal under United States v. Booker, --- U.S. ----, 125

S. Ct. 738 (2005). See McPherson v. Coombe, 174 F.3d 276, 280 (2d Cir. 1999)(Pro se pleadings

should be read liberally and interpreted to "raise the strongest arguments they suggest."). However,

neither Blakely nor Booker apply retroactively to cases on collateral review. See Guzman v. United

States, 404 F.3d 139, 140 ("We now hold that Booker does not apply retroactively to cases on

collateral review...."), 144 (“For the reasons stated above, Booker is not retroactive, i.e., it does not


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apply to cases on collateral review where the defendant's conviction was final as of January 12,

2005, the date that Booker issued.”)(2d Cir. 2005); Carmona v. United States, 390 F.3d 200, 202 (2d

Cir. 2004)(Blakely not retroactively applicable to cases on collateral review); Garcia v. United

States, No. 04-cv-0465, 2004 WL 1752588 (N.D.N.Y. Aug. 4, 2004)(McAvoy, S.J.)(Blakely does

not apply retroactively to cases on collateral review.). Therefore, the claim asserted in Ground Six

is dismissed.

       E. Appointment of Counsel/ IFP Status

       Inasmuch as Petitioner fails to raise any issues on the instant motion that would entitle him

to relief, his motion for appointment of counsel is denied. United States v. Doe, 2005 WL 167601,

at * 1 (S.D.N.Y. Jan. 25, 2005); Toron v. United States, 281 F. Supp.2d 591, 593 (E.D.N.Y. 2003);

see 18 U.S.C. § 3006A(a)(2)(B) ("Whenever the United States magistrate or the court determines

that the interests of justice so require, representation may be provided for any financially eligible

person who ... is seeking relief under section 2241, 2254, or 2255 of title 28." ). Petitioner’s motion

to proceed in forma pauperis is denied as moot.

       F. Certificate of Appealability

       Finally, the Court finds that Petitioner presents no viable issues upon which reasonable

jurists could debate whether: (a) the sentence was imposed in violation of the Constitution or laws

of the United States; (b) the Court was without jurisdiction to impose such sentence; (c) the

sentence was in excess of the maximum authorized by law; or (d) the sentence is otherwise subject

to collateral attack. Therefore, a Certificate of Appealability pursuant to 28 U.S.C. § 2253 is denied.

See Miller-El v. Cockrell, 537 U.S. 322, 123 S.Ct. 1029, 1039-1040 (2003); Slack v. McDaniel, 529

U.S. 473, 484 (2000); Barefoot v. Estelle, 463 U.S. 880, 893 (1983).


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III. CONCLUSION

       For the foregoing reasons, Petitioner’s motion pursuant to 28 U.S.C. § 2255 is DENIED and

his petition is DISMISSED. His motion for appointment of counsel is DENIED, and his motion to

proceed in forma pauperis is DENIED as moot. A Certificate of Appealability pursuant to 28

U.S.C. § 2253 is also DENIED



IT IS SO ORDERED.


DATED: July 20, 2005




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